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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS SAN
                                      ANTONIO DIVISION

 In re:                                     §              Chapter 11
 KRISJENN RANCH, LLC                        §
        Debtor                              §           Case No. 20-50805
                                            §
 _________________________________________________________________________

 KRISJENN RANCH, LLC and                             §
 KRISJENN RANCH, LLC-SERIES                          §
 UVALDE RANCH, and KRISJENN                          §
 RANCH, LLC-SERIES PIPELINE                          §
 ROW as successors in interest to                    §
 BLACKDUCK PROPERTIES, LLC,                          §

        Plaintiffs                            §
 v.                                           §
 DMA PROPERTIES, INC., and                    §
 LONGBRANCH ENERGY, LP,                       §      Adversary No. 20-05027
        Defendants                            §
 _________________________________________________________________________
 DMA PROPERTIES, INC                          §
        Cross-Plaintiff/Third Party Plaintiff §
 v.                                           §
 KRISJENN RANCH, LLC,                         §
 KRISJENN RANCH, LLC-SERIES                   §
 UVALDE RANCH, and KRISJENN                   §
 RANCH, LLC-SERIES PIPELINE ROW,              §      Adversary No. 20-05027
 BLACK DUCK PROPERTIES, LLC,                  §
 LARRY WRIGHT, and JOHN TERRILL               §
        Cross-Defendants/Third-Party          §
        Defendants

       KRISJENN RANCH, LLC, KRISJENN RANCH, LLC-SERIES UVALDE RANCH, AND
      KRISJENN RANCH, LLC-SERIES PIPELINE ROW AND KRISJENN RANCH, LLC, AS
            SUCCESSOR IN INTEREST TO BLACK DUCK PROPERTIES, LLC’S
                             STATEMENT OF CONSENT

         Debtors, Claimants, and Third-Party Defendants KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-

  Series Uvalde Ranch, KrisJenn Ranch, LLC-Series Pipeline Row, and Krisjenn Ranch, Llc, As Successor

  In Interest To Black Duck Properties, LLC (collectively the “Debtors”), hereby consent to entry of final

  orders and a final judgment by the Bankruptcy Court (an Article I bankruptcy judge) in this adversary

  proceeding

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                                             Respectfully submitted,

                                             MULLER SMEBERG, PLLC

                                    By:      /s/ Ronald J. Smeberg                         .
                                             RONALD J. SMEBERG
                                             State Bar No. 24033967
                                             MULLER SMEBERG, PLLC
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                                             San Antonio, TX 78209
                                             210-664-5000 (Tel)
                                             210-598-7357 (Fax)
                                             ron@smeberg.com
                                             ATTORNEY FOR DEBTOR

                                             CERTIFICATE OF SERVICE

          This is to certify that on this the 5th day of June, 2020, true copy and correct copy of the above and

  foregoing document was served, in accordance with the Federal Rules of Civil Procedure, on the following

  party via facsimile and electronic mail and all parties requesting electronic service:


  Michael Black
  750 Rittiman Road
  San Antonio, Texas 78209



                                             By: /s/ Ronald J. Smeberg
                                             RONALD J. SMEBERG




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